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     Counsel for Plaintiffs
14
                            IN THE UNITED STATES DISTRICT COURT
15                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
16

17   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
     themselves and all others similarly situated,
18                                                   PLAINTIFFS’ ADMINISTRATIVE
            Plaintiffs,                              MOTION TO CONSIDER WHETHER
19                                                   ANOTHER PARTY’S MATERIAL SHOULD
            v.                                       BE SEALED
20
     GOOGLE LLC,                                     CIVIL L.R. 7-11 and 79-5(f)
21
            Defendant.                               Referral: Hon. Susan van Keulen, USMJ
22
                                                     No Hearing Date Set Pursuant to L.R. 7-11(c)
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 1          Pursuant to Civil Local Rules 7-11 and 79-5(f) and the Stipulated Protective Order entered
 2   in this matter, Dkt. No. 61, Plaintiffs respectfully submit this Administrative Motion to Consider
 3   Whether Another Party’s Material Should be Sealed, to the extent such material is quoted,
 4   summarized, or otherwise reflected in the documents (or portions thereof) indicated below:
 5
                 Document                Portions Sought to be Sealed            Evidence Offered in
 6
                                                                                 Support of Sealing
 7                                    Page 1, Lines 9-12, 16-22; Page 2,
                                      Lines 9, 10, 14; Page 3, Lines 22-
           Plaintiffs’ Objections
 8                                    23; Page 4, Line 27; Page 5, Lines
           and Motion to Modify
                                      1-2, 13-20, 23-24, 26-27; Page 6,        Defendant to provide
 9         Special Master R&R
      1                               Lines 2-10, 15-22, 24, 26-28; Page       evidence, per
           Re: Modified
10                                    7, Lines 1-5, 7-9, 18-19, 22-23, 26;     Local Rule 79-5(f)
           Preservation Plan
                                      Page 8, Lines 1-6, 9, 17-19, 22-24;
           (Sealed Dkt. No. 665)
11                                    Page 9, Lines 1-4, 6-7, 9-21, 27;
                                      Page 10, Lines 3-5, 8-13.
12         Declaration of David
                                                                               Defendant to provide
           Straite in Support of
13    2                               Entire Document                          evidence, per
           Plaintiffs’ Objections
                                                                               Local Rule 79-5(f)
14         and Motion to Modify
           Exhibits A-C in
                                                                               Defendant to provide
15         Support of Plaintiffs’
      3                               Entire Documents                         evidence, per
           Objections and
16                                                                             Local Rule 79-5(f)
           Motion to Modify
17

18          Paragraph 12.4 of the Stipulated Protective Order prohibits a party from filing materials
19   designated “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” in the public record.
20   Portions of the documents listed above quote, summarize, or otherwise reflect information that
21   Defendant Google LLC has designated “Confidential” or “Highly Confidential – Attorneys’ Eyes
22   Only.” Pursuant to Civil Local Rules 79-5(c)(1) and (f)(3), Defendant, as the Designating Party,
23   bears the responsibility to establish that all of the designated material is sealable.
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      Dated: June 8, 2022                                   Respectfully submitted,
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     PLS. ADMIN. MOT. TO CONSIDER                       1             CASE NO. 4:20-CV-05146-YGR-SVK
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     BLEICHMAR FONTI & AULD LLP                       DICELLO LEVITT GUTZLER LLC
 1

 2   By: /s/ Lesley E. Weaver                         By:     /s/ David Straite
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     PLS. ADMIN. MOT. TO CONSIDER                 2             CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR           Document 690        Filed 06/08/22       Page 4 of 5



 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, David Straite, attest that concurrence in the filing of this document has been obtained
 3   from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
 4
     Dated: June 8, 2022                                   /s/ David Straite
 5
                                                           David A. Straite
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     ATTESTATION                                                    CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR          Document 690         Filed 06/08/22      Page 5 of 5



 1                                   CERTIFICATE OF SERVICE
 2          I, David A. Straite, hereby certify that on June 8, 2022, I electronically filed the foregoing
 3   document with the Clerk of the United States District Court for the Northern District of California
 4   using the CM/ECF system, which will send electronic notification to all counsel of record. I also
 5   caused a copy of the under seal filings to be delivered to counsel for Defendant Google LLC via
 6   electronic mail.
 7
     Dated: June 8, 2022                                  /s/ David Straite
 8
                                                          David A. Straite
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     CERTIFICATE OF SERVICE                                        CASE NO. 4:20-CV-05146-YGR-SVK
